Case 1:18-cr-10027-NI\/|G Document 23 Filed 07/19/18 Page 1 of 4

AO 2453 (Rev. 11/16) Judgment in a Ctiminal Case

Attachment (Page l) - Statement of Rcasons

DEFENDANT; CORNEL|US PETERSON
CASE NUMBER: 1:18-CR-10027-NMG
DISTRICT: Massachusetts

l.

II.

III.

STATEMENT OF REASONS
(Not for Public Disclosure)
Sections !, lI, II[, !V, and VII of the Statement afReasonsform must be completed in all felony and Class A misdemeanor cases.

COURT FINDINGS ON PRESENTENCE INVESTIGATION REPOR'I`

A. Cl The court adopts the presentence investigation report without change.

B. U The court adopts the presentence investigation report with the following changes. (Use Secnan Vllt ifnecessa»y)
(Check all that apply and specify court determination. findings or comments, referencing paragraph numbers in the presentence report.)

l. iZl Chapter Two ol` the United States Sentencing Commission Guidelines Manual determinations by court: (briefly
summarize the changes including changes to base o[ense level, or specific offense characteristics)

See V|||

2. [I| Chapter Three of the United States Sentencing Commission Guidelines Manual determinations by court: (briejly
summarize the changes. including changes to victim-related adjustments role in the o_@'ense, obstruction of justice multiple counts. or
acceptance of responsibility)

3. E| Chapter Four of the United States Sentencing Commission Guide|ines Manual determinations by court2 (briejly
summarize the changes including changes to criminal history category or scores, career ofender status, or criminal livelihood determinations)

4. l:l AddiinIlal Cl)mm€llf$ 0|' Filldil\gs: (include comments or factual findings concerning any information in the presentence report
including information that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation, or programming
decisions,' any other rulings on disputed portions of the presentence investigation report,' identification of those portions af the report in dispute
but for which a court determination is unnecessary because the matter will nat ajj”ect sentencing or the court will not consider it)

C. |:l The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.
AppliCable S€nt€t‘lclng Guld€linei (i_'f more than one guideline applies. list the guideline producing the highest ojense leveI)

COURT FINDING ON MANDATORY MINIMUM SENTENCE (check an that appiy)

A. El One or more counts of conviction carry a mandatory minimum term of imprisonment and the sentence imposed is at or
above the applicable mandatory minimum term.

B. E\ One or more counts of conviction carry a mandatory minimum term of imprisonment, but the sentence imposed is below
a mandatory minimum term because the court has determined that the mandatory minimum term does not apply based on:

Cl findings of fact in this case: (Specy§,)

|:| substantial assistance (18 U.S.C. § 3553(e))
|Il the statutory safety valve (18 U.S.C. § 3553(D)

C. U No count of conviction carries a mandatory minimum sentence
COURT DETERMINATION OF CUlDELINE RANGE: (BEFORE DEPARTURES 0R VARIANCES)

TotalOH`ense Level: 20
Criminal History Category: |

 

 

 

Guideline Range: after application af§scl./ and §501.2) 33 to 41 months
Supervised Release Range: 1 to 3 years
Fine Range: $ 15.000 to $ 4.848,000

 

d Fine waived or below the guideline range because oi` inability to pay.

Case 1:18-cr-10027-NI\/|G Document 23 Filed 07/19/18 Page 2 of 4

AO 245B (Rev. l l/ 16) Judgment in a Criminal Case Not for Public Disclosure
Attachment (Page 2) - Statement of Reasons

DEFENDANT: CORNEL|US PETERSON
CASE NUMBER:1:18-CR-10027-NMG
DISTRICT: |V|assachusetts

STATEMENT OF REASONS
lv. cummle sENTENciNG DETERMINATIoN (chec)¢an iimppiy)

A. El The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
does not exceed 24 months.

B. E| The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
exceeds 24 months, and the specific sentence is imposed for these reasons: (Use Secnon VIH ifnecessary)

 

C. E| The court departs from the guideline range for one or more reasons provided in the Guidelines Manua|.
(Also complete Section V.)
D. al The court imposed a sentence otherwise outside the sentencing guideline system (i.e., a variance). (Also complete Seon'on Vl)

V. DEPARTURES PURSUANT TO THE GUIDELINES MANUAL (Ifapplicable)

A. The sentence imposed departs: (Check only one)
E| above the guideline range
El below the guideline range

B. Motion for departure before the court pursuant to: (Check all that apply and spech reason(s) in sections Cond D)

l. Plea Agreement
l:| binding plea agreement for departure accepted by the court
[:| plea agreement for departure, which the court finds to be reasonable
E| plea agreement that states that the government will not oppose a defense departure motion.
2. Motion Not Addressed in a Plea Agreement
|:l government motion for departure
L`_| defense motion for departure to which the government did not object
|I] defense motion for departure to which the government objected
|:l joint motion by both parties
3. Other
E| Other than a plea agreement or motion by the parties for departure
C. Reasons for departure: (Cheok all that apply)

4Al.3 Criminal History Inadequacy 5K2.l Death 5K2.12 Coercion and Duress
5Hl.l Age 5K2.2 Physical lnjury 5K2.13 Diminished Capacity
5Hl.2 Education and Vocational Skills 5K2.3 Extreme Psychological lnjury 5K2. 14 Public Welfare
5Hl.3 Mental and Emotional Condition 5K2.4 Abduction or Unlawful 5K2. 16 Voluntary Disclosure of
Restraint OH`ense
5Hl.4 Physical Condition 5K2.5 Property Damage or Loss 5K2.17 High-Capacity, Semiautomatic
Weapon

5Hl.5 Employment Record
5Hl.6 Family Ties and Responsibilities

5K2.6 Weapon

5K2.7 Disruption of Govemment
Function

5K2.8 Extreme Conduct

5K2.18 Violent Street Gang

5K2.20 AberrantBehavior

5Hl.ll Military Service 5K2.21 Dismissed and Uncharged
Conduct

5K2.22 Sex Offender Characteristics

5K2.23 Discharged Terms of
Imprisonment

5K2.24 Unauthorized lnsignia

5Hl.l 1 Charitable Service/Good Works
5Kl .l Substantial Assistance

5K2.9 CriminalPurpose
5K2.10 Victim's Conduct

l:| UL_.| |:l E]l:| El C]Cl[:ll:l
|'J |:ll;l E] EE| EI CIC]E|U

5K2.0 Aggravating/Mitigating 5K2.ll Lesserl-iarm

Circurnstances

Cl U |:Il:l ij El:| ij l:||:ll:ll]

5K3.l Early Disposition Program
(EDP)
|:l Other Guideline Reason(s) for Departure, to include departures pursuant to the commentary in the Guidelines Manual: (.vee "Lis¢ of
Departure Provisians " following the index in the Guidelines Manual.) (Please speci'j:i')

D. State the basis for the departure. (Use Secn'on Vlll ifnecessmy)

Case 1:18-cr-10027-NI\/|G Document 23 Filed 07/19/18 Page 3 of 4

AO 2453 (Rev. 111'16) .ludgment in a Criminal Casc Not for Public Disclosure

Attachmcnt (Page 3) j Statemcnl of Reasuns

 

DEFENDANT: CORNELIUS PETERSON
CASE NUMBER! 1118-CR-10027-NMG
DISTRICT: Massaohusetts

STATEMENT OF REASONS

COURT DETERMINA'I`ION FOR A VARIANCE (y‘oppttcable)
A. The sentence imposed is: (Ctn't-k unit ono)

|:l above the guideline range

El below the guideline range

B. Mt)lit)tl fOI' il Val'lal'lc€ bEl`Ot'O file COlll‘t pursuant 102 (Check all that apply and specify reason(.s) in sections Cand D)

l. Plea Agreement

|:l binding plea agreement for a variance accepted by the court

l:l plea agreement for a variance, which the court finds to be reasonable

|:| plea agreement that states that the government will not oppose a defense motion for a variance
2. Motion Not Addressed in a Plea Agrcement

I:| government motion for a variance

L_.l defense motion for a variance to which the government did not object

|:| defense motion for a variance to which thc government objected

l:| joint motion by both parties
3. Other

m Othet’ than a plea agreement or motion by the parties for a variance

C. 18 U.S.C. § 3553(a) and other reason(s) for a variance (Check ollchoropply)
|:l The nature and circumstances ofthe offense pursuant to 18 U.S.C. § 3553(3)(1)
EJ Mcns Rea l:l Extreme Conduct E] DismissedlUnchargcd Conduct
E] Ro|e in the Offense |Il Victim Impact
|] Gencral Aggravating or Mitigating Factors (Spectj/,i

 

\ifl The history and characteristics ofthe defendant pursuant to ES U.S.C. § 3553(a)(l)

|:l Aberrant Behavior |:I Lack onoulhful Guidancc
|:| Agc |I| lvlental and Emotional Condition
E Charitable Servicchood l:| Military Service

Works

Non-Violent Offender
Physical Condition
Prc-sentence Rehabilitation
Remorse)‘isa€-li-BHMHHISB'
Othcr: (Specify)

|:l Community Tics

|:| Diminished Capacity

|:l Drug or Alcohol Depcndencc

|:| Employment Record

l:| Family Ties and
Responsibilitics

|:| issues with Criminal History: (Specijj»)

C|Ei:]l:|l:|

 

|:| To reflect the seriousness of the offense1 to promote respect for thc law, and to provide just punishment for thc offense
(18 U.S.C. § 3553(a)(2)(A))

|:| To afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(:1)(2)(3))

E] To protect the public from further crimes ofthc defendant (18 U.S.C. § 3553(a)(2)(C))

|:| To provide the defendant with needed educational or vocational training (18 U.S.C. § 3553(a)(2)(D))

l:l TO provide the defendant with medical care (18 U‘S.C. § 3553(a)(2)(D)]

|:| To provide the defendant with other correctional treatment in the most effective manner (18 U.S.C. § 3553(a)(2)(D))

|:| To avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6)) {Spccify in section D)

|:| To provide restitution to any victims of the offense (18 U,S.C. § 3553(a)(7])

ill Acceptance ochsponsibility L:l Conduct Prc-trial/On Bond l:| Coopcration Withont Governmcnt Motion for

|:| Early Plea Agreement CI Globai Plea Agreement Departure

l:] Tlil"l€ SCl'VCCi (not counted in sentence) l:l Walv€l' Of ll'ldiClm€ni l:l Waiv€t' OprpCSl

I:l

Policy Disagreement with the Guidelines (Kiml)rongh v. U.S., 552 U.S. 85 (2007): (Specify)

 

ij Other: opmny

 

D. State the basis for a variance (Use Section Vlll ifnecessaiy)

Case 1:18-cr-10027-NI\/|G Document 23 Filed 07/19/18 Page 4 of 4

AO 2453 (Rev. ll."lé) .ludgment in a Criminal Casc Not for Public Disclosure
Attacbment (Page 4) _ Statement of Reasons

DEFENDANT: CoRNEl_lus PETERSON
CASE NUMBER= 1:13-CR»10027-er1<3
DISTRICTf Massachusetts

STATEMENT OF REASONS

VII. COURT DETERMINATlONS ()F RESTITUTION

A. |:l Restitution NotApplicable.

B. TotalAmount of Restitutiun: S 462»000-00 [,ng?pi‘i`\i"\& Q(f\'i£i `iiiG-,l ?`JC'\

C. Restitution not ordered: (Cheeit only one)

l. l:| For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because
the number ofidcntifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3}(A).

2. l:l For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because
determining complex issues of fact and relating them to the cause or amount oftlte victims’ losses would complicate
or prolong the sentencing process to a degree that the need to provide restitution to any victim would be outweighed
by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).

3. l:| For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing
guidelines, restitution is not ordered because the complication and prolongation of the sentencing process resulting
from the fashioning ofa restitution order outweigh the need to provide restitution to any victims under 18 U.S.C. §
3663(21)(1 )(B)(ii).

4. l:l For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ l593, 2248_. 2259, 2264_, 2327 or_
3663A, restitution is not ordered because the victim(s)'(s) losses were not ascertainable ( l 3 U.S.C. § 3664(d)(5))

5. l:l For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
3663A, restitution is not ordered because thc victim(s) elected to not participate in any phase of determining the
restitution order (18 U.S.C. § 3664(g)(l)).

6. l:l Restitution is not ordered for other reasons. (Explutn)

 

D. l:l Partial restitution is ordered for these reasons (13 U.S.C. §3553(€)):

vtn. Aol)irioNAL BAsis son ruiz sentence in Tms CAsa (ifappiimna

|.B.t. The Court accepts the agreement of the parties (the P|ea Agreernent) that the loss due to defendants crime was
$462,000. not $862,000 as found by the Probation Officer, and thus the offense level is increased by 12 levels (not 14)
per USSG §251.1(1)){1)((3), resulting in a guideline range of 33-41 months_

 

 

 

 

 

 

 

 

 

 

Defendant’s Soc. Sec. No.: 000°00“2147 Date oflmposition of.ludgment
06/28)'2018

Defendant’s Date of Birth: 1939 54 j

. Newton, |VlA l &jpld~e..,€%w apa
Defendant’s Residence Address: Signature of Judge
Dcf`endant’s Mailing Address: Newmn MA Narne and Title ofjud e
y Date Signed 7&/[?/ /rg/
1 l

